BENJAMIN GONZALES AND SOCORRO GONZALES, Petitioners v. COMMISSIONER OF INTERNAL REVENUE, RespondentGonzales v. CommissionerDocket No. 10967-81.United States Tax CourtT.C. Memo 1983-27; 1983 Tax Ct. Memo LEXIS 756; 45 T.C.M. (CCH) 526; T.C.M. (RIA) 83027; January 17, 1983.  Benjamin Gonzales, pro se.  Sara W. Dalton, for the respondent.  DAWSONMEMORANDUM OPINION DAWSON, Judge: Respondent determined the following deficiencies in petitioners' Federal income taxes and additions to tax: Addition to TaxYearDeficiencySec. 6653(a) 11978$953.00$87.251979948.0071.50At issue are (1) whether petitioners are entitled to claimed Schedule C business expense deductions, rental expense deductions, *757  and itemized deductions in excess of the zero bracket amount; and (2) whether they are liable for the additions to tax under section 6653(a).  Petitioners were residents of Taylor, Texas, at the time they filed their petition herein.  They timely filed joint Federal income tax returns for the years 1978 and 1979.  Such returns were prepared by James M. Damon of Austin, Texas, who was convicted on April 28, 1981, in the United States District Court for the Western District of Texas, Austin Division, of preparing false and fraudulent returns in violation of section 7206(2) of the Code.  Mr. Damon would have taxpayers, who were wage earners, report self-employment business income and deductions on Schedule C of Form 1040 incorrectly reflecting substantial business losses.  In 1978 and 1979 Benjamin Gonzales was employed by Floydco, Inc.  In 1978 Socorro Gonzales was employed by Mr. Fine, Inc. and in 1979 she was employed by Travis State School and Mr. Fine, Inc.  Neither petitioner was self-employed during the years in issue.  The deductions claimed by petitioners on Schedule C of their Form 1040 for each year, the rental expense deductions claimed on Schedule E, and the itemized*758  deductions in excess of the zero bracket amount were all disallowed by respondent in his notice of deficiency.  On September 14, 1982, respondent served on petitioners a Request for Admissions pursuant to Rule 90.  2 Paragraphs 6 through 8 of the request for admissions read as follows: 6.  Petitioners are entitled to no itemized deductions for 1978 and 1979 in excess of the standard deduction. 37.  Petitioners are entitled to no business expense deductions in 1978 and 1979.  8.  Petitioners are entitled to no rental expense deductions in 1978 and 1979.  Petitioners have not answered any of the admissions set forth above.  Therefore, pursuant to Rule 90(c) and (e), each matter contained in respondent's request is deemed admitted for the purposes of this case.  Freedson v. Commissioner,65 T.C. 333"&gt;65 T.C. 333, 335 (1975), affd.  565 F.2d 954"&gt;565 F.2d 954 (5th Cir. 1978). When this case was called for trial at San Antonio on December 6, 1982, the petitioners offered no evidence*759  in support of the assignments of error raised in their petition.  Instead, they filed a memorandum which asserted their positions, as follows: 1.  Petitioners rely upon the 1976 Tax Reform Act and section 7609 of the I.R. Code as to the way information was obtained by the I.R.S. from our tax consultant Mr. James M. Damon.  Respondent violated this tax reform act by seizing our records in the hands of Mr. Damon through a general warrant.  2.  Petitioners rely on the good faith of Boyd in the case of Boyd v. United States, Supreme Court decided on Feb. 1, 1886.  The Supreme Court stated that the government cannot use records it obtains under any kind of threat or duress in order to recompute the tax either on the basis of the information thus obtained or because it is not surrendered.  3.  Petitioners rely upon the Bill of Rights of the U.S. Constitution - the Fifth Amendment good faith plea - as to verification of our Forms 1040's with our personal files and records.  4.  Petitioners ask that court Respondent show cause why each and every deduction disallowed, should not be allowed.  There is no evidence in this record as to any violation of section 7609 relating to special*760  procedures for third-party summonses.  There is also no evidence that petitioners' Fourth Amendment rights have been violated.  The audit of their Federal income tax returns constitutes no invasion of privacy or unlawful search or seizure.  Cf.  Edwards v. Commissioner,680 F.2d 1268"&gt;680 F.2d 1268, 1270 (9th Cir. 1982). We reject petitioners' Fifth Amendment claim.  The privilege against self-incrimination under the Fifth Amendment to the United States Constitution does not apply where the possibility of criminal prosecution is remote or unlikely, and remote or speculative possibilities of prosecution for unspecified crimes are not sufficient.  Rechtzigel v. Commissioner,79 T.C. 132"&gt;79 T.C. 132 (1982), on appeal (8th Cir., Aug. 30, 1982); Reiff v. Commissioner,77 T.C. 1169"&gt;77 T.C. 1169, 1174 (1981); Burns v. Commissioner,76 T.C. 706"&gt;76 T.C. 706 (1981); Wilkinson v. Commissioner,71 T.C. 633"&gt;71 T.C. 633, 637-638 (1979); Ryan v. Commissioner,67 T.C. 212"&gt;67 T.C. 212, 217 (1976), affd.  568 F.2d 531"&gt;568 F.2d 531, 539 (7th Cir. 1977); Roberts v. Commissioner,62 T.C. 834"&gt;62 T.C. 834, 837-838 (1974); Figueiredo v. Commissioner,54 T.C. 1508"&gt;54 T.C. 1508, 1511-1512 (1970),*761  affd. in an unpublished order (9th Cir., March 14, 1973).  Here the Court is satisfied that any possible danger of self-incrimination for a tax or nontax crime is so remote and so speculative that it cannot support a Fifth Amendment claim.  We also think their Fifth Amendment claim is frivolous since respondent's counsel represented to the Court that no criminal tax prosecution of petitioners has been recommended and no such action is contemplated.  4 See Edwards v. Commissioner,supra;United States v. Johnson,577 F.2d 1304"&gt;577 F.2d 1304, 1311 (5th Cir. 1978); Watson v. Commissioner,690 F.2d 429"&gt;690 F.2d 429 (5th Cir. 1982). Petitioners have the burden of proving that respondent's determination in regard to the deficiencies and additions to tax is incorrect.  Welch v. Helvering,290 U.S. 111"&gt;290 U.S. 111 (1933); Rule 142(a), *762  Tax Court Rules of Practice and Procedure.  They have introduced no evidence and they have failed to carry their burden.  Therefore, we sustain respondent's determination in all respects.  Decision will be entered for the respondent.Footnotes1. All section references are to the Internal Revenue Code of 1954, as amended and in effect for the years in issue, unless otherwise indicated.↩2. All rule references are to the Tax Court Rules of Practice and Procedure.↩3. We note that the zero bracket amount replaced the standard deduction for the years 1977 and thereafter.↩4. After this case was submitted the petitioners filed a motion for an in-camera review of their records by the Court in their effort to justify the assertion of their Fifth Amendment privilege.  The motion was denied on the authority of In re U.S. Hoffman Can Corp.,373 F.2d 622"&gt;373 F.2d 622, 628-629↩ (3d Cir. 1967).